                  Case 22-08022            Doc 20          Filed 09/20/22 Entered 09/20/22 11:34:41                                   Desc Main
                                                            Document     Page 1 of 21
Fill in this information to identify your case and this filing:

Debtor 1                    Mark B Crowe
                            First Name               Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name               Middle Name                    Last Name


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number           22-08022                                                                                                                  Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       Mercedes                          Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      CLS500                               Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2006                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:           140,000           Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another
         Not running
                                                           Check if this is community property                             $3,000.00                    $3,000.00
                                                            (see instructions)



  3.2     Make:       Porsche                           Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      Cayanne                              Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2013                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:           160,000           Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another


                                                           Check if this is community property                             $9,350.00                    $9,350.00
                                                            (see instructions)




Official Form 106A/B                                                Schedule A/B: Property                                                                    page 1
                 Case 22-08022                Doc 20            Filed 09/20/22 Entered 09/20/22 11:34:41                                        Desc Main
                                                                 Document     Page 2 of 21
Debtor 1         Mark B Crowe                                                                                      Case number (if known)       22-08022

  3.3    Make:      Lane Rover                               Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                    Range Rover                                                                                              the amount of any secured claims on Schedule D:
         Model:     Supercharged                                Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2006                                        Debtor 2 only                                                Current value of the     Current value of the
         Approximate mileage:              160,000              Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
         Other information:                                     At least one of the debtors and another


                                                                Check if this is community property                                    $2,450.00                 $2,450.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $14,800.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                   1 couch                                                                                                                            $50.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                   2 televisions                                                                                                                     $150.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....




Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
                Case 22-08022                             Doc 20                Filed 09/20/22 Entered 09/20/22 11:34:41                             Desc Main
                                                                                 Document     Page 3 of 21
Debtor 1        Mark B Crowe                                                                                                Case number (if known)   22-08022
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                          Miscellaneous wearing apparel                                                                                              $150.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                             $350.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                               Cash on
                                                                                                                               Debtor's                               $30.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Checking                                Citibank                                                              $40.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                             % of ownership:

                                                AVA Bio Medical, Inc.                                                             100          %                        $0.00

Official Form 106A/B                                                                     Schedule A/B: Property                                                         page 3
               Case 22-08022                     Doc 20         Filed 09/20/22 Entered 09/20/22 11:34:41                                Desc Main
                                                                 Document     Page 4 of 21
Debtor 1        Mark B Crowe                                                                                Case number (if known)      22-08022

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                            Institution name:

                                        IRA                               DWS                                                                        $30,000.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 4
                Case 22-08022                       Doc 20             Filed 09/20/22 Entered 09/20/22 11:34:41                                               Desc Main
                                                                        Document     Page 5 of 21
Debtor 1        Mark B Crowe                                                                                                    Case number (if known)        22-08022


                                                             Past due child support
                                                                                                                                       Child Support                         $6,800.00


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                 value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
     No
       Yes. Give specific information..

                                                         Funds held in Escrow in the sum of $259,000.00 pending
                                                         divorce proceedings                                                                                                Unknown



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................              $36,870.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.

      Yes. Go to line 38.


                                                                                                                                                                Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
       Yes. Describe.....


                                       Approximately $20,000 from business                                                                                                       $0.00


Official Form 106A/B                                                          Schedule A/B: Property                                                                              page 5
                Case 22-08022                       Doc 20             Filed 09/20/22 Entered 09/20/22 11:34:41                                               Desc Main
                                                                        Document     Page 6 of 21
Debtor 1        Mark B Crowe                                                                                                    Case number (if known)        22-08022

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       No
       Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
       Yes. Describe.....


                                       1 sterilizer, 1 package sealer, 1 UV light, miscellaneous tools                                                                     $1,500.00


41. Inventory
       No
       Yes. Describe.....


42. Interests in partnerships or joint ventures
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                                                 % of ownership:


43. Customer lists, mailing lists, or other compilations
      No.
      Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                 No
                 Yes. Describe.....


44. Any business-related property you did not already list
       No
       Yes. Give specific information.........



45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here.....................................................................................................................              $1,500.00

Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                    $0.00




Official Form 106A/B                                                          Schedule A/B: Property                                                                            page 6
                 Case 22-08022                        Doc 20               Filed 09/20/22 Entered 09/20/22 11:34:41                                             Desc Main
                                                                            Document     Page 7 of 21
Debtor 1         Mark B Crowe                                                                                                          Case number (if known)   22-08022

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                      $0.00
56. Part 2: Total vehicles, line 5                                                                           $14,800.00
57. Part 3: Total personal and household items, line 15                                                         $350.00
58. Part 4: Total financial assets, line 36                                                                  $36,870.00
59. Part 5: Total business-related property, line 45                                                          $1,500.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $53,520.00              Copy personal property total            $53,520.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $53,520.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 7
                  Case 22-08022            Doc 20         Filed 09/20/22 Entered 09/20/22 11:34:41                             Desc Main
                                                           Document     Page 8 of 21
Fill in this information to identify your case:

Debtor 1                Mark B Crowe
                        First Name                   Middle Name                Last Name

Debtor 2
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        NORTHERN DISTRICT OF ILLINOIS

Case number           22-08022
(if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     2006 Mercedes CLS500 140,000 miles                        $3,000.00                                      $0.00    735 ILCS 5/12-1001(c)
     Not running
     Line from Schedule A/B: 3.1                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     1 couch                                                        $50.00                                  $50.00     735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 6.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Miscellaneous wearing apparel                                 $150.00                                 $150.00     735 ILCS 5/12-1001(a)
     Line from Schedule A/B: 11.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Cash on Debtor's                                               $30.00                                  $30.00     735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 16.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Checking: Citibank                                             $40.00                                  $40.00     735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 17.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit



Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
                Case 22-08022             Doc 20       Filed 09/20/22 Entered 09/20/22 11:34:41                                 Desc Main
                                                        Document     Page 9 of 21
Debtor 1    Mark B Crowe                                                                       Case number (if known)     22-08022
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    IRA: DWS                                               $30,000.00                                $30,000.00         735 ILCS 5/12-1006
    Line from Schedule A/B: 21.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    1 sterilizer, 1 package sealer, 1 UV                    $1,500.00                                  $1,500.00        735 ILCS 5/12-1001(b)
    light, miscellaneous tools
    Line from Schedule A/B: 40.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
                  Case 22-08022                  Doc 20           Filed 09/20/22 Entered 09/20/22 11:34:41                                            Desc Main
                                                                  Document      Page 10 of 21
Fill in this information to identify your case:

Debtor 1                   Mark B Crowe
                           First Name                      Middle Name                       Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

Case number            22-08022
(if known)
                                                                                                                                                         Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?

          No. Go to Part 2.
          Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1          AVA Biomedical, Inc.                                    Last 4 digits of account number                                                                   $67,000.00
             Nonpriority Creditor's Name
             1108 Elm Street                                         When was the debt incurred?
             Winnetka, IL 60093
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community                  Student loans
             debt                                                       Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify   Personal loans




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 12
                                                                                                               35670
              Case 22-08022                  Doc 20        Filed 09/20/22 Entered 09/20/22 11:34:41                                      Desc Main
                                                           Document      Page 11 of 21
Debtor 1 Mark B Crowe                                                                            Case number (if known)         22-08022

4.2      Citi AAdvantage                                     Last 4 digits of account number       1175                                          $17,073.93
         Nonpriority Creditor's Name
         Citi Cards                                          When was the debt incurred?
         P.O. Box 78045
         Phoenix, AZ 85062-8045
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Claim incurred from miscellaneous
             Yes                                                Other. Specify   charges.


4.3      Citi Cards                                          Last 4 digits of account number       6418                                          $24,056.94
         Nonpriority Creditor's Name
         P.O. Box 78045                                      When was the debt incurred?
         Phoenix, AZ 85062-8045
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Claim incurred from miscellaneous
             Yes                                                Other. Specify   charges.


4.4      Citi Cards                                          Last 4 digits of account number       7710                                          $14,533.82
         Nonpriority Creditor's Name
         P.O. Box 78045                                      When was the debt incurred?
         Phoenix, AZ 85062-8045
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Claim incurred from miscellaneous
             Yes                                                Other. Specify   charges.




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 12
              Case 22-08022                  Doc 20        Filed 09/20/22 Entered 09/20/22 11:34:41                                      Desc Main
                                                           Document      Page 12 of 21
Debtor 1 Mark B Crowe                                                                            Case number (if known)         22-08022

4.5      Citi Dividend                                       Last 4 digits of account number       1633                                          $15,230.71
         Nonpriority Creditor's Name
         Citi Cards                                          When was the debt incurred?
         P.O. Box 78045
         Phoenix, AZ 85062-8045
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Claim incurred from miscellaneous
             Yes                                                Other. Specify   charges.


4.6      Commonwealth Edison                                 Last 4 digits of account number                                                         $3,000.00
         Nonpriority Creditor's Name
         Bill Payment Center                                 When was the debt incurred?
         P.O. Box 6111
         Carol Stream, IL 60197-6111
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Miscellaneous utilities


4.7      Dussias Wittenberg Koenigsberger                    Last 4 digits of account number                                                     $66,602.00
         Nonpriority Creditor's Name
         250 S. Wacker Dr.                                   When was the debt incurred?
         Suite 600
         Chicago, IL 60606
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Legal services




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 12
              Case 22-08022                  Doc 20        Filed 09/20/22 Entered 09/20/22 11:34:41                                      Desc Main
                                                           Document      Page 13 of 21
Debtor 1 Mark B Crowe                                                                            Case number (if known)         22-08022

4.8      Family Law Solutions                                Last 4 digits of account number                                                     $29,336.00
         Nonpriority Creditor's Name
         180 N. LaSalle Street                               When was the debt incurred?
         37th Floor
         Chicago, IL 60601
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Legal services


4.9      Internal Revenue Service                            Last 4 digits of account number                                                         $3,322.00
         Nonpriority Creditor's Name
         ACS Support - Stop 5050                             When was the debt incurred?
         PO Box 219236
         Kansas City, MO 64121
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Federal Income tax - 2013


4.1
0        Internal Revenue Service                            Last 4 digits of account number                                                         $6,776.00
         Nonpriority Creditor's Name
         ACS Support - Stop 5050                             When was the debt incurred?
         PO Box 219236
         Kansas City, MO 64121
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Federal Income tax -2014




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 12
              Case 22-08022                  Doc 20        Filed 09/20/22 Entered 09/20/22 11:34:41                                      Desc Main
                                                           Document      Page 14 of 21
Debtor 1 Mark B Crowe                                                                            Case number (if known)         22-08022

4.1
1        Internal Revenue Service                            Last 4 digits of account number                                                     $13,956.00
         Nonpriority Creditor's Name
         ACS Support - Stop 5050                             When was the debt incurred?
         PO Box 219236
         Kansas City, MO 64121
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Federal Income tax - 2015


4.1
2        Internal Revenue Service                            Last 4 digits of account number                                                         $5,131.00
         Nonpriority Creditor's Name
         ACS Support - Stop 5050                             When was the debt incurred?
         PO Box 219236
         Kansas City, MO 64121
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Federal Income tax - 2016


4.1
3        Internal Revenue Service                            Last 4 digits of account number                                                          $545.00
         Nonpriority Creditor's Name
         ACS Support - Stop 5050                             When was the debt incurred?
         PO Box 219236
         Kansas City, MO 64121
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Federal Income tax - 2017




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 12
              Case 22-08022                  Doc 20        Filed 09/20/22 Entered 09/20/22 11:34:41                                      Desc Main
                                                           Document      Page 15 of 21
Debtor 1 Mark B Crowe                                                                            Case number (if known)         22-08022

4.1
4        Internal Revenue Service                            Last 4 digits of account number                                                         $1,250.00
         Nonpriority Creditor's Name
         ACS Support - Stop 5050                             When was the debt incurred?
         PO Box 219236
         Kansas City, MO 64121
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Federal Income tax - 2018


4.1
5        Internal Revenue Service                            Last 4 digits of account number                                                     $20,153.00
         Nonpriority Creditor's Name
         ACS Support - Stop 5050                             When was the debt incurred?
         PO Box 219236
         Kansas City, MO 64121
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Federal Income tax - 2019


4.1
6        Internal Revenue Service                            Last 4 digits of account number                                                         $1,422.00
         Nonpriority Creditor's Name
         ACS Support - Stop 5050                             When was the debt incurred?
         PO Box 219236
         Kansas City, MO 64121
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Federal Income tax




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 12
              Case 22-08022                  Doc 20        Filed 09/20/22 Entered 09/20/22 11:34:41                                      Desc Main
                                                           Document      Page 16 of 21
Debtor 1 Mark B Crowe                                                                            Case number (if known)         22-08022

4.1
7        NiCor Gas                                           Last 4 digits of account number                                                         $1,700.00
         Nonpriority Creditor's Name
         P.O. Box 5407                                       When was the debt incurred?
         Carol Stream, IL 60197-5407
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Miscellaneous utilities


4.1
8        Sally Crowe                                         Last 4 digits of account number                                                     Unknown
         Nonpriority Creditor's Name
         850 Hill Road                                       When was the debt incurred?
         Winnetka, IL 60093
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
                                                                Contingent
             Debtor 1 only
             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Alleged claim due for maintenance/property
             Yes                                                Other. Specify   settlement.


4.1
9        State of Illinois                                   Last 4 digits of account number       6011                                              $4,685.68
         Nonpriority Creditor's Name
         Department of Revenue                               When was the debt incurred?
         P.O. Box 19006
         Springfield, IL 62794-9006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   State Income tax - 2009




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 12
              Case 22-08022                  Doc 20        Filed 09/20/22 Entered 09/20/22 11:34:41                                      Desc Main
                                                           Document      Page 17 of 21
Debtor 1 Mark B Crowe                                                                            Case number (if known)         22-08022

4.2
0        State of Illinois                                   Last 4 digits of account number       6011                                               $608.50
         Nonpriority Creditor's Name
         Department of Revenue                               When was the debt incurred?
         P.O. Box 19006
         Springfield, IL 62794-9006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   State Income tax - 2010


4.2
1        State of Illinois                                   Last 4 digits of account number       6011                                              $1,024.64
         Nonpriority Creditor's Name
         Department of Revenue                               When was the debt incurred?
         P.O. Box 19006
         Springfield, IL 62794-9006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   State Income tax - 2011


4.2
2        State of Illinois                                   Last 4 digits of account number       6011                                              $1,033.53
         Nonpriority Creditor's Name
         Department of Revenue                               When was the debt incurred?
         P.O. Box 19006
         Springfield, IL 62794-9006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   State Income tax - 2012




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 8 of 12
              Case 22-08022                  Doc 20        Filed 09/20/22 Entered 09/20/22 11:34:41                                      Desc Main
                                                           Document      Page 18 of 21
Debtor 1 Mark B Crowe                                                                            Case number (if known)         22-08022

4.2
3        State of Illinois                                   Last 4 digits of account number       6011                                              $5,443.17
         Nonpriority Creditor's Name
         Department of Revenue                               When was the debt incurred?
         P.O. Box 19006
         Springfield, IL 62794-9006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   State Income tax - 2013


4.2
4        State of Illinois                                   Last 4 digits of account number       6011                                              $7,168.28
         Nonpriority Creditor's Name
         Department of Revenue                               When was the debt incurred?
         P.O. Box 19006
         Springfield, IL 62794-9006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   State Income tax - 2014


4.2
5        State of Illinois                                   Last 4 digits of account number       6011                                              $6,603.61
         Nonpriority Creditor's Name
         Department of Revenue                               When was the debt incurred?
         P.O. Box 19006
         Springfield, IL 62794-9006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   State Income tax -2015




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 9 of 12
              Case 22-08022                  Doc 20        Filed 09/20/22 Entered 09/20/22 11:34:41                                      Desc Main
                                                           Document      Page 19 of 21
Debtor 1 Mark B Crowe                                                                            Case number (if known)         22-08022

4.2
6        State of Illinois                                   Last 4 digits of account number       6011                                               $958.15
         Nonpriority Creditor's Name
         Department of Revenue                               When was the debt incurred?
         P.O. Box 19006
         Springfield, IL 62794-9006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   State Income tax -2016


4.2
7        State of Illinois                                   Last 4 digits of account number       6011                                               $641.14
         Nonpriority Creditor's Name
         Department of Revenue                               When was the debt incurred?
         P.O. Box 19006
         Springfield, IL 62794-9006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   State Income tax - 2017


4.2
8        State of Illinois                                   Last 4 digits of account number       6011                                               $782.08
         Nonpriority Creditor's Name
         Department of Revenue                               When was the debt incurred?
         P.O. Box 19006
         Springfield, IL 62794-9006
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   State Income tax - 2018




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 10 of 12
               Case 22-08022                    Doc 20          Filed 09/20/22 Entered 09/20/22 11:34:41                                       Desc Main
                                                                Document      Page 20 of 21
Debtor 1 Mark B Crowe                                                                                    Case number (if known)          22-08022

4.2
9         State of Illinois                                        Last 4 digits of account number         6011                                          $12,344.38
          Nonpriority Creditor's Name
          Department of Revenue                                    When was the debt incurred?
          P.O. Box 19006
          Springfield, IL 62794-9006
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   State Income tax - 2019


4.3
0         State of Illinois                                        Last 4 digits of account number         6011                                            $7,653.48
          Nonpriority Creditor's Name
          Department of Revenue                                    When was the debt incurred?
          P.O. Box 19006
          Springfield, IL 62794-9006
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   State Income tax - 2020

Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                        0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                        0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                        0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                        0.00
Total
claims


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 11 of 12
              Case 22-08022                     Doc 20          Filed 09/20/22 Entered 09/20/22 11:34:41                            Desc Main
                                                                Document      Page 21 of 21
Debtor 1 Mark B Crowe                                                                                Case number (if known)   22-08022
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                   0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                   0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $             340,035.04

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             340,035.04




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 12 of 12
